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                       Attachment 5
       Supplemental Report of Christopher A. Vellturo, Ph.D.,
                       dated June 15, 2020

          (Exhibit D to Declaration of Raymond M. Bennett)
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